AO 94 (Rev. 07/18) Commitment to Another District




                                     UNITED STATES DISTRICT COURT
                                                                  for the
                                                           District of Alaska

                  United States of America                          )
                             v.                                     )       Case No. 3:20-mj-00289-MMS
                                                                    )
                                                                    )
                   SONG GUO ZHENG                                   )       Charging District’s Case No. : 2:20-mj-375-CMV
                           Defendant                                )

                                            COMMITMENT TO ANOTHER DISTRICT

            The defendant has been ordered to appear in the                 Southern         District of             Ohio       ,
(if applicable)                                     division. The defendant may need an interpreter for this language:
Mandarin                                                      .

          The defendant:        ‫ ܆‬will retain an attorney.
                                ‫ ܆‬is requesting court-appointed counsel.

          The defendant remains in custody after the initial appearance.

          IT IS ORDERED: The United States marshal must transport the defendant, together with a copy of this order, to
the charging district and deliver the defendant to the United States marshal for that district, or to another officer authorized
to receive the defendant. The marshal or officer in the charging district should immediately notify the United States
attorney and the clerk of court for that district of the defendant’s arrival so that further proceedings may be promptly
scheduled. The clerk of this district must promptly transmit the papers and any bail to the charging district.




Date:     May 28, 2020
                                                                                             Judge’s
                                                                                             JJu
                                                                                               u dg
                                                                                                 d g e’s si
                                                                                                         signature

                                                                            Matthew M. Scoble, United States Magistrate Judge
                                                                                           Printed name and title




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